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                            UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                       ORLANDO DIVISION

 RICKITA CANNON

                       Plaintiff,

 v.                                                          Case No: 6:24-cv-1884-WWB-DCI

 LJ ROSS ASSOCIATES,

                       Defendant.



                                              ORDER
        This cause comes before the Court for consideration after a hearing on Plaintiff Rickita

 Cannon’s (Plaintiff) Motion to Compel Discovery Responses, to Strike Defendant’s Documents,

 and for Sanctions. Doc. 65 (the Motion). For the reasons set forth in the record, the Motion is

 GRANTED IN PART and DENIED in part.

        In the Motion, Plaintiff requests that the Court: 1) compel Defendant LJ Ross Associate’s

 (Defendant) response to eleven requests for production; 2) “Strike any documents Defendant failed

 to disclose under Rule 26(a)(1) from being used at trial;” 3) “Bar Defendant from introducing at

 trial any documents that were not disclosed in their initial disclosures or produced in discovery;”

 and 4) “Sanction Defendant under Rule 37 and 28 U.S.C. § 1927 for willfully violating discovery

 obligations and court instructions.” Doc. 65 at 5-6. In response, Defendant argues that the Court

 should deny the Motion and allow for “expanded briefing so that the Court can assess whether

 Plaintiff’s written representations and litigation conduct are consistent with Fed. R. Civ. P. 11,

 Fed. R. Civ. P. 37, and 28 U.S.C. § 1927.” Doc. 67 at 3.
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          On July 9, 2025, the Court held a hearing on the Motion. Doc. 77. After hearing arguments

 from the Parties, the Court finds that the Motion is due to be granted in part and denied in part, as

 stated on the record. The Court’s rulings on the disputed discovery requests are summarized

 below:

  Request Number                       Ruling

  Request for Production No. 1         Motion to compel granted. On or before July 15, 2025,
                                       Defendant is ordered to produce the information contained
                                       in the withheld data file that relates to Plaintiff. As
                                       discussed in the hearing, the production need not be in
                                       native format. Defendant may provide images or PDFs of
                                       the relevant portions of the withheld data file.

  Request for Production No. 2         Motion to compel denied.

  Request for Production No. 3         Motion to compel denied.

  Request for Production No. 4         Motion to compel denied.

  Request for Production No.5          Motion to compel granted. On or before July 15, 2025,
                                       Defendant is ordered to email Plaintiff the total page count
                                       of the agreement with WE Energies.
  Request for Production No. 6         Motion to compel denied.

  Request for Production No. 7         Motion to compel denied.

  Request for Production No. 8         Motion to compel denied.

  Request for Production No. 9         Motion to compel denied.

  Request for Production No. 10        Motion to compel denied.

  Request for Production No. 11        Motion to compel denied.


          Accordingly, it is ORDERED that the Motion (Doc. 65) is GRANTED in part and

 DENIED in part as set forth in the foregoing chart and:

             1. The Court will DENY the Parties’ requests for sanctions; and



                                                  2
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            2. Plaintiff shall appear in person for her deposition on August 13, 2025 at a mutually

               agreeable time.

        ORDERED in Orlando, Florida on July 10, 2025.




 Copies furnished to:
 Counsel of Record
 Unrepresented Party




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